






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00103-CR







Belinda Orona, Appellant



v.



The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW NO. 1 OF CALDWELL COUNTY


NO. 39195, HONORABLE EDWARD L. JARRETT, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Belinda Orona perfected an appeal from a conviction for resisting arrest.  The clerk's
fee has not been paid and the clerk's record has not been filed.  See Tex. R. App. P. 35.3(a).

Because there was a question as to whether Orona is presently indigent, the Court
abated the appeal for a hearing.  See Tex. Code Crim. Proc. Ann. art. 26.04 (West Supp. 2010). 
Following the hearing, the trial court found that appellant is not indigent.  The Court subsequently
notified both appellant and her attorney of record that the appeal would be dismissed if the clerk's
fee was not paid by July 5, 2011.  The fee has not been paid.


The appeal is dismissed for want of prosecution.  See Tex. R. App. P. 37.3(b).



				__________________________________________

				Melissa Goodwin, Justice

Before Justices Puryear, Rose and Goodwin

Dismissed for Want of Prosecution

Filed:   July 29, 2011

Do Not Publish


